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                         IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF KANSAS

ASHLEY LEWIS, M.D.,                                          )
                                                             )
               Plaintiff,                                    )
                                                             )
v.                                                           )   Case No. 2:22-cv-02191
                                                             )
UNIVERSITY OF KANSAS,                                        )
  SCHOOL OF MEDICINE ,                                       )
                                                             )
               Defendant.                                    )
                                                             )
                                                             )

                       STIPULATION OF DISMISSAL WITH PREJUDICE

       COMES NOW the plaintiff, Ashley Lewis, M.D., by and through her attorneys Alan V.

Johnson and Rebecca M. Henderson and the law firm of SLOAN, EISENBARTH, GLASSMAN,

MCENTIRE & JARBOE, L.L.C., and the defendant, the University of Kansas School of Medicine,

by and through its attorneys Kathleen Nemechek and Megan Costello, and the law firm

Berkowitz Oliver, LLP, pursuant to Rule 41(a) of the Federal Rules of Civil Procedure, hereby

stipulate that this action should be dismissed with prejudice, with each party to bear its own costs

and attorney’s fees.



STIPULATED AND APPROVED BY:

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And

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